                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA,                        :
ET AL.                                               :
                                                     :
       v.                                            :       CIVIL ACTION NO. 20-4096
                                                     :
LOUIS DeJOY                                          :
IN HIS OFFICIAL CAPACITY AS                          :
UNITED STATES POSTMASTER GENERAL,                    :
ET AL.                                               :



       ORDER GRANTING, IN PART, DEFENDANTS’ MOTION TO CLARIFY

            This 9th day of October, 2020, it is hereby ORDERED that Defendants’ Motion for

Clarification/Reconsideration, (ECF No. 66) is GRANTED IN PART, as follows:


1. The supplemental orders of September 25, 2020 and September 29, 2020, entered by the
   United States District Court for the Southern District of New York in Jones v. United States
   Postal Service, No. 20 Civ. 6516 (S.D.N.Y. Sept. 29, 2020) are adopted and deemed
   incorporated within this Court’s orders.

2. Paragraph 3 of this Court’s Order of September 28, 2020 (ECF No. 63), making reference to
   the action pending in the Eastern District of Washington is hereby VACATED and
   superseded by the specific provisions of this Order.

3. Paragraph 4 of this Court’s order of September 28, 2020 (ECF No. 63) is hereby
   CLARIFIED as follows:

   For the purposes of paragraphs 4b and 4c of this Court’s Order, Defendants shall be deemed
   in compliance if they commit to and enforce the following:

              •   Transportation, in the form of late and extra trips is authorized and shall be
                  used where reasonably necessary to meet service standards and service
                  performance targets. While the Postal Service is not required to delay a trip
                  when that delay will cause an overall degradation in service (e.g., a truck
                  should not be delayed to ensure timely delivery of a small amount of mail when
                  doing so would cause a larger amount of mail to be delayed) the Postal Service
                  shall use extra trips to minimize the effect of such delays and to meet service
                  commitments, except when not feasible. Managers shall use their best business
                  judgment to meet service commitments and to not leave mail behind.



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        •   Extra transportation resources are authorized and shall be used to ensure that
            Election Mail reaches its intended destination in a timely manner. This
            includes, but is not limited to, extra trips from all points of processing and
            delivery (e.g., retail units and plants), as necessary to connect Election Mail to
            its intended destination or the next stage in Postal Service processing. Late and
            extra trips that would facilitate the on-time delivery of Election Mail are
            authorized and encouraged—the Postal Service is committed to using such trips
            to deliver Election Mail on time.

        •   Extra delivery and collection trips are authorized and shall be used to ensure, to
            the best of the Postal Service’s ability, that completed ballots entered on
            Election Day reach the appropriate election official by the state’s designated
            deadline. This includes, but is not limited to, early collections the week before
            Election Day to ensure all collected ballots are processed timely, and delivery
            of ballots found in collections on Election Day to election boards within states
            requiring ballots to be returned by a designated time on Election Day.

        •   The Postal Service shall make all reasonable efforts to ensure that all mail,
            including Election Mail, committed for a particular day is delivered that day.
            All requirements regarding carrier start and stop times should be consistent
            with the Postal Service’s handbooks and manuals, all of which predate June
            15, 2020.

   Defendants will ensure that all USPS employees, via their supervisors and managers, are
   notified of the provisions of this Order and the Postal Service’s commitment to and
   enforcement of them. To the extent that they conflict, the provisions of this Order shall
   supersede any prior guidance, including Guidelines regarding transportation sent by
   Robert Cintron to Area Vice Presidents and other agency representatives on July 11, 2020
   and July 14, 2020.

For the purposes of paragraph 4.d., Defendants shall be deemed in compliance with the
Order (ECF No. 63) if they commit to and enforce the following:

        •   The Postal Service will approve overtime, including penalty overtime, for
            the purpose of meeting service standards and service performance targets.

        •   Overtime, including penalty overtime, is authorized and shall be used to
            support all additional resources necessary to ensure that Election Mail is
            prioritized and delivered on time.

   Defendants will ensure that all USPS employees, via their supervisors and managers,
   are notified of these provisions and the Postal Service’s commitment to and
   enforcement of them. These provisions shall supersede any prior guidance, to the
   extent they conflict.



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4. By October 16, 2020, Defendants shall provide Plaintiffs and this Court with an affidavit
   detailing their efforts to notify all USPS employees, via their supervisors and managers, of
   these provisions and the Postal Service’s commitment to and enforcement of them.

5. The Court hereby schedules a telephonic status hearing for December 3, 2020, at 1:30 p.m.
   to review the operational effect of Defendants’ ongoing implementation of the Court’s Order
   of September 28, 2020 (ECF No. 63).

                                                            /s/Gerald Austin McHugh_
                                                            United States District Judge




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